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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


 In re:                                               Hon. Michael B. Kaplan

 Princeton Alternative Income Fund, LP, et al.,       Lead Case No. 18-14603 (MBK)
                                                      (Jointly Administered)

                   Debtors-In-Possession.             Chapter 11

                                                      Hearing Date: May 14, 2018 at 1:00 p.m.


 LIMITED OBJECTION TO APPLICATION FOR RETENTION OF PROFESSIONAL
                         BERNARD A. KATZ


          Ranger Specialty Income Fund, LP (“Ranger Domestic”), Ranger Alternative

 Management II, LP (“Ranger Management”), and Ranger Direct Lending Fund Trust (“Ranger

 Offshore and collectively with Ranger Domestic and Ranger Management, “Ranger”) hereby

 object to the Application for Retention of Professional Bernard A. Katz (the “Application”)(Dkt.

 No. 88) filed by Debtors Princeton Alternative Income Fund, LP (“PAIF” or “Debtor”), and in

 support thereof states as follows:




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               I.   BACKGROUND


          1.        PAIF has filed the Application seeking authorization from the Bankruptcy Court

 to retain Bernard A. Katz (“Katz”) as a member of PAIF’s “Advisory Board”.


          2.        According to the submissions made by PAIF to the Bankruptcy Court, PAIF is

 purportedly controlled and managed by a substitute General Partner (“GP”), Princeton

 Alternative Funding Management, LLC (“PAFM”). PAIF has represented to the Bankruptcy

 Court and the parties that the majority equity holder and controlling entity of PAFM is MicroBilt

 Financial Services, Corp. (“MicroBilt”).1


          3.        Pursuant to Section 3.01(q) of the Limited Partnership Agreement (the “LPA”)2,

 the GP of PAIF may establish, from time to time, an advisory committee and delegate to such

 advisory committee the performance of such certain functions3 and to receive from it guidance,

 as determined by the GP. While Section 3.01(n) of the LPA allows the expenses of the GP and of

 PAIF to be paid “in accordance with the terms of this Agreement”, no provision of the LPA

 allows the GP to compensate the member(s) of the advisory committee for their services.



          1
         The control of PAIF by an entity directly owned and controlled by MicroBilt is in direct
 contravention of PAIF’s Private Placement Memorandum (“PPM”)(attached to Ranger CSOF at
 Exhibit M), upon which Ranger relied in making its direct and indirect investments in PAIF. The
 PPM specifically represents that decision-making authority for PAIF will be held by non-
 MicroBilt managers. While Ranger asserts that this representation was false from its inception,
 the purported designation of PAFM as the actual GP of PAIF in the context of this chapter 11
 case removes even the veneer of honesty from this representation. See, Ranger’s Common
 Statement of Facts, (“Ranger CSOF”), Para 13-16, (Dkt. No.39).
          2
              Attached to Ranger CSOF at Exhibit O.
          3
           To the extent PAIF, as a debtor-in-possession, wishes to actually delegate functions of
 PAIF to Katz, the delegated duties should be specified and such delegation should be on notice
 and with leave of the court. A professional accepting such delegation becomes a direct fiduciary.
 See, In re Mushroom Transportation Company, Inc., 366 B.R. 414, 452 (Bankr. E.D.Pa. 2007).
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          4.       The Application outlines the proposed scope of Katz’s retention to include the

 following:

                  “[P]rovide independent guidance through Chapter 11 process [sic]”

                  “[A]ssist the Debtor through the Chapter 11 process”

                  “[T]o provide an independent oversight function for the critical decisions required

                   in formation and implementation of a plan”


          5.       Thus, while the word “independent” is used three times in the Application to

 describe Katz’s proposed duties, a fair reading of the Application reveals that Katz is being

 proposed as a financial and reorganization consultant to assist PAIF in the bankruptcy process

 and work toward the formation and implementation of a confirmable Chapter 11 Plan.


          6.       Ranger, through its undersigned counsel, is familiar with the expertise and

 reputation of Katz and does not contest that Katz is qualified to serve as a financial and

 bankruptcy reorganization consultant to PAIF in its Chapter 11 case. If this is the proposed

 scope of Katz’s retention by PAIF, then Ranger does not object to Katz' retention in that

 capacity.4


          7.       However, to the extent PAIF seeks to retain Katz as a compensated member of an

 advisory committee (which presently has no other members), Ranger objects for the following

 reasons:


          4
          Ranger reserves it rights to review and object to the any fee application related to such
 retention under the ordinary procedures for such matters as fee application are filed by PAIF
 seeking authorization from the Bankruptcy Court to compensate Katz for processional services
 rendered to the estate. Ranger also adopts and incorporates by reference the Objection to the
 Application filed by the United States Trustee.

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                  The LPA does not allow compensation for members of an advisory committee

                   under Section 3.01(q)


                  PAFM, as the purported substitute GP of PAIF, has extensive experience in the

                   investment sector in which the PAIF fund is engaged and has made no showing as

                   to why it requires financial advice and assistance at the substantial rates being

                   charged by Katz, the cost of which is ultimately bore by Ranger and other

                   Investors, who are the sole practical economic parties-in-interest in this case.


                  If PAFM, as the purported substitute GP of PAIF, requires the services of Katz

                   because of its own inherent conflicts of interests and concerns related insider

                   dealings, then the appropriate remedy for that problem is the appointment of a

                   Chapter 11 Trustee or an Examiner, ordered by the Bankruptcy Court and

                   appointed by the United States Trustee under Sections 1104 and 1106 of the

                   Bankruptcy Code.5


          8.       Ranger further objects to the proposed role outlined for Katz by PAIF, which

 exceeds the proper scope of a financial and/or bankruptcy reorganization advisor to the Debtor.


          9.       PAIF cannot retain its own “independent” investigator or examiner. While Katz

 can consult with and advise PAIF on its reorganization plans and is qualified for that task, he




          5
          The Bankruptcy Court has reserved on Ranger’s pending Motion to appoint a Chapter
 11 Trustee in the PAIF case. To allow the issues to be before the Court in an orderly procedural
 manner, Ranger will shortly file a Motion for the appointment of an Examiner under Sections
 1104 and 1106 of the Bankruptcy Code. This will allow the Court and the parties to properly
 brief and argue this issue before the Bankruptcy Court, so that a judicial decision on this issue
 can be squarely addressed.
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 cannot serve any independent investigatory function as a professional retained by PAIF as

 debtor-in-possession.6


          10.      However, while not expressly stated in the four-corners of the Application, this

 self-appointed “independent” investigatory role appears to be that PAIF has in mind for Katz as

 an estate professional


          11.      In its Memorandum of Law (Dkt. No. 83)7 in opposition to Ranger’s Motion

 seeking alternative relief in the form of dismissal, abstention or the appointment of a Chapter 11

 Trustee (Dkt. No. 35 Redacted Version), PAIF asserts in opposition to Ranger’s request for the

 appointment of a Chapter 11 Trustee that Katz has been commissioned to do the following:


                          “[P]erform a complete analysis of the Debtor’s business and loan

                           portfolios and provide a written report, with supporting documentation, to

                           the Court within ninety(90) days”;


                          Katz may retain his own professionals, such as accountants and legal

                           counsel;


                          All discovery will be stayed in the case until Katz delivers his report to the

                           Court;




          6
          Undersigned counsel for Ranger has had one independent conversion with Katz, with
 the permission of PAIF’s counsel. At that time, Katz indicated that his conversations with
 Ranger and/or its counsel would have to be reported to PAIF and its counsel, since he was being
 retained by Debtors in this case. That is entirely appropriate for a professional retained as
 consultant to the Debtor. It is the antithesis of the role of an Examiner.
          7
              See PAIF’s Memorandum of Law (Dkt. 83) at pp. 17-19.
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                          If Ranger or other Investors want to obtain information during this

                           investigatory period, apparently PAIF proposes that they must do so

                           through Katz;

                          Katz’s report to the Court will make recommendation about the

                           reorganization of PAIF and the best method to monetize PAIF’s assets.


          12.      The fact that these proposed details about the role of Katz and the scope of his

 engagement are contained in an unrelated pleading and are not mentioned or cross-referenced in

 the Application makes the Application incomplete of its face.


          13.      Assuming the proposed details of the Katz engagement can be indirectly disclosed

 in this manner, what the terms of engagement essentially amount to is a debtor-in-possession

 appointing its own Examiner in a chapter 11 case, complete with a report to the Bankruptcy

 Court8. Here, however, the proposed “examiner” would not be working for the Court as an

 independent investigator appointed by the United States Trustee but would be a professional

 retained by and compensated by the Debtor.9 Furthermore, Katz would be doing double-duty,

 since the role outlined for him in the Application includes both investigating and reporting to the

 Court and advising PAIF through the formation and implementation of a Chapter 11 plan. Thus,

          8
          The Application seeks authorization to retain Katz nunc pro tunc as of the filing date of
 March 9, 2018. This is an implicit acknowledgement that Katz has been employed by PAIF for
 nearly two months already. Any credible argument that Katz can undo two months of service and
 transform himself into a neutral fiduciary has been long since lost.
 9
   Were the matter of an “independent board member” being addressed outside of a Chapter 11
 context, the analysis would be similar. Under Delaware law, where board members are
 “beholden to” the company’s whole owner and CEO, they cannot be said to be “independent.” In
 re Emerging Communs., Inc. S'holders Litig., 2004 WL 1305745 *33 (Del. Ch. May 3, 2004).
 (“Directors who ‘through personal or other relationships are beholden to the controlling person
 lack independence from that person.”) “Highly paid consultant[s],” certain people on retainers,
 and those who receive annual directors’ fees or fees for serving on Special Committees are
 considered economically beholden. Id.
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 the Katz “investigation” is geared to producing a Katz-recommended plan to aid PAIF in its

 reorganization efforts. The inherent conflict between these two roles is manifest.


          14.      Section 1104 of the Bankruptcy Code expressly provides that it is the Bankruptcy

 Court, after notice and hearing, that must order the appointment an Examiner. Once that order is

 entered, the United States Trustee identifies and appoints the person to fulfill that role, as ordered

 by the Court.


          15.      As noted by the Third Circuit in Official Committee of Unsecured Creditors of

 Cybergenics v Chinery, 330 F.3d 548,578 (3d Cir. 2003), the “broad grant” of the role of an

 Examiner in a chapter 11 case “is most naturally interpreted to authorize acts only related

 directly to investigation”. The Third Circuit explained, based on the legislative history of

 Section 1106, that “the investigation of the examiner is to proceed on an independent basis from

 the procedure of the reorganization under chapter 11 in order to ensure that the examiner’s report

 will be expeditious and fair”. Id. The combined role of investigator and plan advisor requested

 by PAIF for Katz is exactly what the court in Cybergenics rejected.10


          16.      Furthermore, as opposed to the delegation of authority referenced in Section

 3.01(g) of the LPA to an advisory committee member, the delegation of any authority to act for



          10
           Other provisions in the Bankruptcy Code confirm the limited and unique investigatory
 and reporting role of an Examiner. Section 321(b) of the Bankruptcy Code prohibits a person
 who has served as an Examiner from later serving as a Trustee in the same case. If this were
 permitted, parties would be reluctant to provide information to an Examiner during an
 investigation when the Examiner may later become a representative of the estate. Likewise,
 Section 327(f) of the Bankruptcy Code prohibits a Trustee from employing a professional who
 has previously served as an Examiner in a case. The reasons for this are the same. Yet here,
 PAIF proposes that Katz should serve simultaneously as an estate professional and a neutral
 investigatory examiner. That dual role contradicts the precise restrictions in the Bankruptcy Code
 defining the limited role of an Examiner.
                                                   7
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 the estate is not within the power of an Examiner, who cannot serve as a substitute for a Chapter

 11 trustee. In re Marvel Entertainment Group, 140 F.3d 463,475 (3d Cir. 1998).


          17.      PAIF also suggests that Katz may hire other professionals to assist in his dual role

 as self-appointed investigator and reorganization consultant. As the court noted in in re W.R.

 Grace & Co., 285 B.R. 148,156, “[t]he Bankruptcy Code does not authorize the retention by an

 examiner of attorneys or other professionals”. The court added that “[t]he basis job of an

 examiner is to examine, not to be a protagonist in the case…the examiner’s role is primarily

 investigative”. Id. See also, In re 1002 Gemini Interests, LLC, 2015 WL 913542 *5 (February

 27, 2015)(Bankr. S.D. Texas)(“[a]n examiner’s duties are primarily investigative); In re Gordon

 Properties, LLC, 514 B.R. 449,563 (Bankr.E.D.Va. 2013)(examiner has the right to interview

 anyone he wishes without notice or participation of other parties as part of investigatory role); In

 re Prosser, 2009 WL 2424409 *4 (Bankr. D. Virgin Is. 2009) (examiner’s independent role

 inconsistent with the use of information obtained in investigation to detriment of a party-in-

 interest and would jeopardize candid relationship between examiner and parties).


          18.      PAIF, as debtor-in-possession, has the right to retain Katz as a financial and

 reorganization consultant subject to compensation arrangements approved by the Court.

 However, Katz cannot serve as a one-person advisory board under the LPA because the LPA

 does not provide for payment of a person serving in that capacity.


          19.      Most importantly, the role outlined for Katz in PAIF’s Memorandum of Law

 cannot be approved by the Court, since it authorizes Katz to serve as both an advisor to PAIF and

 simultaneously act as an Examiner reporting to the Court.




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          20.      Ranger will shorty file a Motion asking this Court to order the appointment an

 actual Examiner under Sections 1104 and 1106 of the Bankruptcy Code. As a professional

 retained by the Debtor for two months, seeking nunc pro tunc retention to the filing date of these

 cases on March 9, 2018, Katz is disqualified from consideration for that position.

 CONCLUSION

          Ranger has no objection to PAIF retaining Katz as a financial and reorganization advisor

 in its Chapter 11 case subject to the objections of the United States Trustee as to the terms of

 compensation. However, PAIF objects of the retention of Katz beyond that limited role and

 specifically objects to the terms of retention outlined by PAIF in its ancillary pleading.



 Dated: April 27, 2018                         Respectfully submitted,

                                                       BALLARD SPAHR, LLP

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                                 CERTIFICATE OF SERVICE

          I, Dean C. Waldt, state that on April 27, 2018, I cause a true and correct copy of the

 foregoing      LIMITED    OBJECTION         TO      APPLICATION        FOR     RETENTION        OF

 PROFESSIONAL BERNARD A. KATZ to be electronically filed through the Court’s CM/ECF

 system. Notice of this filing will be sent to all parties on the Court’s Electronic Mail Notice List

 by operation of the Court’s CM/ECF system, including Debtors’ counsel.


                                               By:      /s/ Dean C. Waldt
                                                       Dean C. Waldt, Esquire




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